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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
In Re: )
)
DIAMONDHEAD CASINO )
CORPORATION, ) C. A. No. 24-11354-JKS
)
ALLEGED DEBTOR. ) Chapter 7

DECLARATION OF DEBORAH A. VITALE IN SUPPORT OF THE
MOTION OF THE ALLEGED DEBTOR, DIAMONDHEAD CASINO
CORPORATION, TO DISMISS THE INVOLUNTARY BANKRUPTCY
PETITION OR, IN THE ALTERNATIVE,

TO CONVERT THE CASE TO CHAPTER 11

Deborah A. Vitale, being duly sworn according to law, deposes and says as
follows:
be I hereby file this Declaration in Support of the Motion of the Alleged
Debtor, Diamondhead Casino Corporation, to Dismiss the Involuntary Bankruptcy
Petition or, in the Alternative, to Convert the Case to Chapter 11.
2, I have personal knowledge of the facts stated herein and if called as a

witness, could and would competently testify thereto.
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a I am President, Chief Executive Officer, Secretary, Treasurer, and Chief
Financial Officer of the Defendant, Diamondhead Casino Corporation (“hereinafter

"Diamondhead Casino" or "the Company”). I am also a Director of the Company.

4, I am President, Chief Executive Officer, Secretary, and Treasurer of
Mississippi Gaming Corporation, a wholly-owned subsidiary of the Company. I

am also Chairman of the Board of Directors of Mississippi Gaming Corporation.

a I also hold various other positions in the Company's subsidiaries which are

not relevant to the current motion before the Court.

6. Iam an attorney in good standing and licensed to practice law in Washington
D.C., Maryland and the Commonwealth of Virginia. I have been admitted pro hac
vice in various federal and state courts.

Ts I served as Listing Official for the U.S. Environmental Protection Agency in
1986. As Listing Official, I had government-wide debarment authority over
contracts, grants, and loans, sub-contracts, sub-grants and sub-loans. I worked with
large polluters to get things done without having to delist them, which would have
had severe ramifications for companies that were publicly traded and their
shareholders.

8. I am an experienced trial attorney with over thirty years of experience

having handled complex civil litigation, including corporate, contractual,
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commercial, environmental, personal injury, medical malpractice, legal
malpractice and some pharmaceutical litigation.

9. Prior to becoming an attorney, I worked as a research analyst and
management consultant providing management consulting services to corporations

and various federal and state agencies.

10. Ironically and pertinent here, while working as a consultant to a large
medical health and equipment manufacturer outside of Chicago, Illinois, I was
responsible for an accounts receivable department that collected millions of dollars
in dated receivables from numerous purchasers throughout the nation. As a direct
result of that collection experience, I quickly learned that it was in the financial

best interest of my client to work with its debtors if we wanted to get paid.

11. In February of 1998, when I became President of the Company, I assumed
management of all aspects of the day-to-day operations of the publicly-traded
company, then one of the largest off-shore gambling ship operators in the United
States and then in dire financial straits. I supervised and managed approximately
450 land and ship-based employees and the operation of four casino ships sailing
to and from international waters from ports located in Miami Beach, Ft. Myers
Beach, and Madeira Beach, Florida. In the September 2002 issue of International

Gaming & Wagering Business Magazine, | was named one of the “Best CEO
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Operators” in the industry and ranked fourth among the top “five best CEO

operators.”

12. I negotiated and drafted significant settlement agreements with the Florida
Department of Revenue, Internal Revenue Service, Department of Labor and
numerous vendors and creditors to prevent the seizure of all of the Company’s
assets and allow for the eventual sale, in the ordinary course of business, of four
casino ships, port leases, equipment, and other items, to satisfy the Company’s
obligations and to save its primary asset, an approximate 400-acre property in
Diamondhead, Mississippi. I negotiated with and restructured outstanding loan
agreements with First Union National Bank of Florida and numerous other
creditors and secured incremental financing through private equity offerings to
sustain the Company, maintain its vessels and operations, and transition into a
potential, land-based casino entity. I was responsible for dramatically slashing the
publicly traded Company’s legal, accounting, insurance-related and other

numerous expenses.

13. I negotiated and drafted all contracts relating to the lease, sublease and/or
assignment of gambling ships and Florida ports, negotiated and drafted all
contracts relating to the sale, delivery and transfer of four gambling ships,
gambling equipment and other equipment, and negotiated and drafted the

documents relating to the settlement of all significant corporate, securities-related,

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employee-related, and other legal matters incident to all aspects of the business of
the Company and/or its then eleven subsidiaries. I drafted numerous contracts with
various parties relating to all operations of the publicly-traded company, including

all drydock agreements, letters of intent, and joint venture agreements.

14. I prepare, in conjunction with outside accountants and auditors, all materials
for corporate filings with the Securities and Exchange Commission, including

Forms 10-K, Forms 10-Q and Forms 8-K.

15. I am responsible for all litigation, hearings, and permits relating to the
Diamondhead, Mississippi site and all environmental matters and communications
with federal, state and local agencies and authorities responsible for permitting,
zoning and licensing, including the U.S. Army Corps of Engineers, Mississippi
Department of Environmental Quality, Mississippi Department of Marine
Resources, Hancock County Planning Commission, Hancock County Board of

Supervisors, City of Diamondhead, and the Mississippi Gaming Commission.

The Company.
16. The Company is a Delaware corporation which was incorporated on
November 15, 1988, under the name “Europa Cruises Corporation.” The Company

has been in business for over thirty-three years. In 1989, the Company became a

publicly-held company.
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17. From inception through approximately August of 2000, the Company
operated gambling vessels in international waters. The vessels sailed from various
state ports into international waters where gaming operations were conducted.
From approximately 1994 through August of 2000, operations were conducted
primarily out of ports located in Miami Beach, Florida, Ft. Myers Beach, Florida,
and Madeira Beach, Florida. At its height, the Company carried approximately
300,000 passengers per year, sailed seven days per week, twice per day, and
employed approximately 450 people.

18. The ship-based casino industry suffered a serious decline as a result of the
advent of land-based gambling in Florida and Mississippi. By the end of 2000, the
Company had divested itself of its ship-based gaming operations to satisfy its
financial obligations to its vendors, lenders and taxing authorities and to focus its
resources on the development of a casino resort in Diamondhead, Mississippi

19. On November 22, 2002, the Company amended its Certificate of Incorporation
to change its name to “Diamondhead Casino Corporation.” This was done to
reflect the fact that the Company was out of the cruise-to-nowhere industry in
Florida and was turning its attention to the development of its property in
Diamondhead. Mississippi.

20. The Company has no current operations in any state. The Company has had no

income or revenue from any operations since 2000. The Company currently has
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one employee, the undersigned Declarant, who serves in an executive officer
capacity. The Company has approximately 2,000 common stockholders.

Securities and Exchange Commission Filings

21. The Company is a fully-reporting public company. The Company has an
outside auditor, Marcum, LLP, and an outside accountant. The Company files
Annual Reports on Form 10-K with the Securities and Exchange Commission
("SEC"), together with audited financial statements. The Company files Quarterly
Reports on Form 10-Q with the SEC together, as required, with financial
statements reviewed by its outside auditors.

22. The Company is current in its filings with the Securities and Exchange
Commission. On June 20, 2024, the Company filed a Form 8-K with the SEC to
report the filing of this action.

23. On June 17, 2024, the Financial Industry Regulatory Authority ("FINRA"),
in the mistaken belief that the Company had filed for bankruptcy, added a "Q" after
the Company's stock symbol. This had an immediate, negative effect on the stock
price. On June 18, 2024, the Company informed FINRA that the Company had not

filed for bankruptcy. FINRA removed the "Q" after the Company's stock symbol.
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Current Management Assumed Control of Day-to-Day Operations of the
Company and Was Successful in Completing an Out-of-Court Workout to
Pay All of the Company's Secured Creditors in Full

24. This is not the first time this Company has had to sell assets to pay its
creditors. The last time this happened, current management was successful in
getting all of its secured creditors paid in full, together with all interest due, and in
getting all of its unsecured creditors paid in full or settling with them.

25. Current management assumed control of the day-to-day ship-based operations
of the Company and its subsidiaries in 1998. Because of the ship-based operations,
the Company was in dire financial straits. The Company owed significant debt to
First Union National Bank of Florida ("the Bank") and other secured lenders, the
Internal Revenue Service, the Florida Department of Revenue, various county and
local taxing authorities, and numerous venders who supplied its gaming ships in at
least three cities in Florida. The Bank and the Florida Department of Revenue both
threatened to seize the Company's assets.

26. I convinced the Bank, the Florida Department of Revenue and the Internal
Revenue Service to work with us and to allow the Company to sell its four ships in
the normal course of business. I warned them that the ships, if sold at auction,
would never bring in enough money to pay them. These were very sophisticated

lenders and taxing authorities and they already knew this. I worked with these

creditors to conduct an out-of-court workout.
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27. The Company's four ships were old with outdated gaming equipment. The
Company hired an eminently-qualified ship broker and sold its four ships for a
total of approximately $13,950,000.' As a result, all secured lenders were paid in
full, together with all interest due. The Company paid the Internal Revenue Service
all amounts due. It paid all unsecured creditors in full or settled with them. The
Company reached a settlement agreement with the Florida Department of Revenue.
28. All stakeholders came out ahead. The Company survived and did not have
to go bankrupt and ended up with the Diamondhead, Mississippi Property.

29. The entity that purchased the Company's casino ships renovated them and
installed new gaming equipment. This entity subsequently ended up with serious
tax and other legal problems. The U.S. government seized the four casino ships
from this entity and sold them at auction, together with all the new equipment that
had been installed, for approximately $1,517,000. This was a mere eleven percent
(11%) of what the Company had obtained in a sale of the same assets in the

ordinary course of business and before the ships had been renovated.

' At December 31, 1997, the Company carried its vessels, equipment and fixtures,
less accumulated depreciation, at $13,238,633. Prior to depreciation, it valued its
four vessels at $15,527,221, vessel improvements at $1,778,632, and gaming
equipment at $2,199,981. See Diamondhead Casino Corporation, f/k/a Europa
Cruises Corporation, Form 10-K for the period ending December 31, 1997, at
pages F-3 and F-15).
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30. This case illustrates what happens when assets are sold in a distressed
environment in the casino industry. Gaming properties simply do not do well when
sold in distress sales. The Revel (hotel and casino) in Atlantic City, New Jersey,
which cost approximately $2.4 billion to construct, sold for less than $100 million

in a distress sale.

31. This case also illustrates how successful current management was in getting the
Company's secured and unsecured creditors paid. The Company's secured creditors
would never have gotten paid in full and would likely have gotten little, if
anything, if they had not worked with the Company and allowed the Company to
sell its four vessels in a non-distress environment. The State and other taxing
authorities would have gotten little, if anything. The unsecured creditors would
have gotten nothing and the Company's shareholders would have been wiped out.
All of this was prevented by allowing the Company and its broker to sell the ships
in the ordinary course of business.

The Diamondhead, Mississippi Property

32. Diamondhead Casino Corporation ("DHCC") owns a residential lot in

Diamondhead, Mississippi.

33. Mississippi Gaming Corporation ("MGC"), a wholly-owned subsidiary of

DHCC, owns approximately 400-acres of land on Interstate 10 in Diamondhead,

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Mississippi ("the Diamondhead Property" or "the Property"). The Property consists
of four separate parcels of commercial land. The commercial land is undeveloped.
34. The Diamondhead Property fronts Interstate 10 for approximately two miles.
Interstate 10 is a major interstate highway running through the southern United
States. The Property, which is long and narrow, also fronts the Bay of St. Louis for
approximately two miles. Based on the latest traffic count, approximately 18.6
million vehicles pass the site each year. Every vehicle traveling west to east on
Interstate 10 from Louisiana to reach the Biloxi or Gulfport casinos must pass this
site. According to the Mississippi Gaming Commission, approximately twenty per
cent of the traffic going to Gulf Coast casinos originates in Louisiana. In the year
ending December 31, 2023, the twelve Gulf Coast casinos generated gross gaming

revenue of approximately $1.6 billion.

35. The Diamondhead property is located entirely within the City of
Diamondhead. The entire Diamondhead Property is zoned as "C-2-Interstate
Commercial/Gaming/Resort." Thus, the entire approximate 400-acres is zoned for

gambling.

36. In Mississippi, local zoning is not enough for a casino. An owner or operator
must also obtain Gaming Site Approval from the Mississippi Gaming Commission
for a casino site. In 2014, MGC applied for Gaming Site Approval. This is an

expensive process which requires significant engineering, surveying and legal

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work. On August 21, 2014, the Mississippi Gaming Commission voted to grant
Gaming Site Approval to Mississippi Gaming Corporation, for a fifty-acre gaming

site on the east end of the Property.

37. The Property's location, coupled with the zoning and the Mississippi

Gaming Commission's Gaming Site Approval, make this a very valuable gaming
property.

2024 Property Appraisal

38. The most recent Property appraisal, dated January 5, 2024, was performed
by Newmark Knight Frank Valuation and Advisory, LLC. The Diamondhead
Property was appraised "as is" at $55.2 million. (See Exhibit 1, Property Appraisal,

pages 1-6)

39. On January 7, 2024, after obtaining the Property appraisal, the Company
sent the appraisal to counsel for the Petitioners, Jeffrey Wurst, Esquire and to the

Petitioner, Edson ("Ted") Arneault.

40. The Property taxes are paid and MGC has sufficient funds to pay the

Property taxes when due again (estimated at approximately $60,000.)

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Property Liens

41. There are 21 liens on the Diamondhead Property. These liens and all terms

relating to each lien are fully disclosed in the Company's SEC filings.

42. There are approximately 35 lien holders. The lien holders include

shareholders and non-shareholders of the Company.

43. The 21 liens total approximately $8.5 million in principal.” With interest, all
liens total approximately $11 million. Some liens carry no interest, but call for
payment of common stock of DHCC in lieu of interest. The liens range from
$25,000 to approximately $5.5 million (the first lien). Some liens include more
than one lien holder. For example, the second lien includes seven persons who
loaned the Company funds, including one shareholder who loaned the Company

$2,500. (This is the smallest lien on the Property.)
The First Lien

44. The first lien secures i) Debentures issued to thirteen (13) Debenture
Holders, including the eight (8) Petitioners herein. These Debentures total $1.85
million in principal. The interest rate in the Debentures is 4%, ii) The first lien is in

parri passu with an Executives Lien which is $2 million. There is no interest on

2 This includes the automatic first lien for paying property taxes to preserve the
Property, which is approximately $400,000.

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this lien. I am the primary beneficiary of the Executives Lien. iii) The first lien also
secures amounts paid for property taxes paid to preserve the Property. This lien is
approximately $400,000. The Property taxes were paid by Mr. Harrison, the

Chairman of the Board of Directors of the Company.

45. If Mr. Harrison had not paid the Property taxes, the Property would have
been sold at a tax sale years ago for pennies on the dollar and there would be no

assets to pay anyone.

46. The first lien was placed on the Property on September 26, 2014. The last
lien, the twenty-first lien, was placed on the Property on May 16, 2022 to secure a

loan from an unrelated party in the principal amount of $50,000.

47. There is more than enough equity in the Property to pay all secured lien
holders assuming the Property is sold or monetized in the ordinary course of

business rather than in a fire sale.

48. There is more than enough equity in the Property to also pay all unsecured
creditors assuming the Property is sold or monetized in the ordinary course of

business rather than in a fire sale.

The Land Deed of Trust

49. The Petitioner, Edson ("Ted") Arneault, worked closely with me to structure

the Private Placement that gave rise to the sale of the Debentures to the Petitioners

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herein. The Private Placement was designed to accommodate the requests of the
Petitioner, Mr. Emerson, the largest Debenture holder. These requests were very

reasonable and the Company had no objection to them or to the proposed structure

of the deal.

50. The Debentures which are the subject of this matter were issued pursuant to

a Private Placement Memorandum.

51. Mr. Wurst's prior law firm supplied the draft Debenture agreements that were
used in the deal and drafted the Debenture instruments with Mr. Arneault and the

Company.

52. The documents relating to the deal that are pertinent here, are as follows:

i) Diamondhead Casino Corporation Amended and Restated First Tranche
Collateralized Convertible Senior Debenture (Exhibit 2); ii) Diamondhead Casino
Corporation Second Tranche Collateralized Convertible Senior Debenture;
(Exhibit 3); and iii) the Land Deed of Trust recorded in Hancock County,
Mississippi on September 26, 2014 (Exhibit 4).

53. The first two items are referred to herein as "the Debentures." All the
Debentures issued to Petitioners and the other Debenture Holders are essentially
the same, except for the Debenture Holder's identifying information, dates, and the

amount of each Debenture.

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54. The Debentures were secured with the commercial Property located in
Diamondhead, Mississippi. This was evidenced by the Land Deed of Trust.

55. The Land Deed of Trust provides for "a judicial foreclosure action" in
Mississippi in the event of a default. It identifies the procedures to be followed and
identified the Trustee, a Mississippi attorney, who would handle the foreclosure
sale. (See Exhibit 4, at page 2)

56. The Land Deed of Trust includes a provision to change the Trustee selected,
if desired. The "Secured Party #1 and Secured Party #2, acting together may at any
time, without giving formal notice to the original or any successor Trustee, but
giving notice to Debtor, .... appoint another person ... to act as Trustee...." (See
Exhibit 4, at page 4, 98.)

57. The Petitioners have never given notice to the Debtor or reached out to the
Secured parties to appoint another Trustee.

58. The forum chosen was Mississippi because that is where the security is
located.

The November 2023 Agreement

59. On November 20, 2023, Mr. Wurst, counsel for the Petitioners, set up a
conference call for November 21, 2023 with the President of the Company (the
undersigned, Deborah A. Vitale), the Chairman of the Board of Directors of the

Company (Gregory A. Harrison) and the Petitioner, Mr. Arneault. (See Exhibit 5)

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60. The call was very amicable. Mr. Wurst made it clear that his clients wanted
to get paid and we needed to work together to get everyone paid. Mr. Harrison
made it very clear that he wanted to get paid. I made it clear that I wanted to get
paid, too.

61. Mr. Wurst demanded a "drop dead" date by which his clients (the eight
Petitioners herein) would be paid. If they were not paid by the drop dead date, the
Company would put the Property up for sale. Otherwise, Mr. Wurst would be
forced to take action to liquidate the Property since his clients were "antsy."

62. Mr. Wurst asked me to suggest a drop dead date. I suggested January 31, 2024
as the drop dead date. Everyone agreed this was an acceptable date.

63. Mr. Harrison, the Chairman of the Board, and I had no objection to this drop
dead date. The Company's last deal, which took months to structure, had collapsed.
64. Everyone, including management, the Board of Directors, and the
Company's stockholders, were understandably frustrated when the last deal was not
funded. Mr. Wurst had been kept appraised of the developments of this deal. The
Chairman of the Board attempted to resurrect the deal, but was unsuccessful in
doing so.

65. After the collapse of that deal, the Company began working with Messrs.
Wurst and Arneault to find an interested party. On November 12, 2023, in an email

titled "Diamondhead Sale of Property/Sackett v EPA," Ms. Vitale sent a lengthy

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email to Messrs. Wurst and Arneault informing them of wetland-related
information any interested party would need and of a recent important Supreme
Court decision that could affect the number of wetlands on the Property. (See
Exhibit 6) (It should be noted that most of the casinos on the Gulf Coast of
Mississippi are constructed in wetlands because prior to Hurricane Katrina they
had to be constructed in, on or above the water.)
66. On November 17, 2023, Mr. Arneault called Mr. Harrison and informed Mr.
Harrison that he might have a buyer for the Property. Mr. Arneault requested "an
updated property description" and informed me that my "analysis of the new rules
with respect to developable land was great." (See Exhibit 7). On November 17, I
sent Mr. Arneault a number of documents relating to the Property that any
interested buyer would need. (See Exhibit 8).
67. In order to sell the Property, a new property appraisal was required because
the last appraisal dated March 19, 2019, was considered too "old." On November
17, 2023, I informed Messrs. Wurst and Arneault as follows:
I ordered an updated property appraisal at 8:30 a.m. this morning from
Newmark. The last appraisal was done in December 2018. Most
prospects want a new appraisal. We will likely need a new appraisal
for any sale. (See Exhibit 9).

68. On November 20, 2023, Newmark Knight Frank Valuation & Advisory LLC

("Newmark") sent me an engagement letter for an updated appraisal and an

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invoice. On November 20, 2023, I signed the engagement letter and sent Newmark
a check to pay for the updated appraisal. (See Exhibit 10).

69. On November 21, 2023, during our conference call, Messrs. Wurst and
Arneault indicated that they might have some possible purchasers and requested
the previous property appraisal and property maps. After the conference call, I sent
Messrs. Wurst and Arneault the previous Property appraisal. Mr. Wurst
responded, wishing me a happy and meaningful Thanksgiving and sent me a
reminder to send him the maps he had requested. (See Exhibit 11).

70. On November 28, 2023, after returning to the office from New Jersey, I sent
Mr. Wurst the maps he requested and some additional items. (See Exhibit 12) It
was my understanding that we were working together to find a prospect or a
purchaser.

71. I realized the Company would not meet the January 31, 2024 drop dead date.
On December 14, 2023, in line with the Company's agreement with Petitioners, I
signed an agreement with Colliers International to sell all or part of the Property.
Colliers signed the agreement on December 20, 2023.

72. In addition to giving Colliers permission to find a purchaser for all or part of
the Property, I gave Colliers permission to secure a loan, if possible, or to secure
an equity investor(s). To speed things up and get a non-exclusive agreement, I

agreed to increase some of the fees Colliers had requested.

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73. Both Messrs. Wurst and Arneault had indicated that they might have a
possible purchaser for the Property. Therefore, I needed to make sure that the
Colliers agreement was a non-exclusive agreement. The non-exclusive agreement
allowed the Company, Messrs. Wurst and Arneault and others, to continue to
pursue other prospects.

74. Colliers International is a well-recognized real estate firm that deals with a
wide range of clients, including those in financial distress. It is not uncommon for
a firm of Colliers’ size and scope to represent companies with various financial
problems. Colliers has extensive experience and a track record for handling
distressed real estate and assets in bankruptcy. Their role typically involves
leveraging their extensive network and expertise to maximize the value of assets.
Colliers has approximately 19,000 employees and operations in 68 countries. In
retaining Colliers, the Company felt it was essentially engaged in an in-house
workout which would maximize the value of its assets without burdening Colliers
with all the negative baggage a bankruptcy would entail. The Company felt that its

creditors, including Petitioners herein, would be thrilled with its choice.

75. Colliers has four principal people working on the Diamondhead deal.
Colliers, at no cost to the Company, had two researchers and a four person
marketing team, prepare marketing and sales materials, including a twenty-three

page detailed offering and sales brochure. Colliers has sent this material out to

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hundreds of prospects. Colliers has a gaming group, a hospitality and leisure group,
a data center group, a marine group, and a golf course group. These are all areas of
special importance given the location and zoning for the Property and, of course,
Gaming Site Approval.

76. On January 5, 2024, Newmark Knight Frank Valuation & Advisory LLC
issued its updated Property appraisal. The "as is" appraisal came in at $55.2
million. (See Exhibit 1, pages 1-6 of Appraisal) On January 7, 2024, I sent the
updated Property appraisal to Messrs. Wurst and Arneault. (See Exhibit 13)

77. On February 21, 2024, I gave Mr. Arneault an update. As usual, Mr.
Arneault offered to help if he could. I indicated we might use him since he had a
gaming background and could speak to the benefits of the location for gaming.

78. On May 7, 2024, Mr. Harrison sent the Colliers brochure to two Petitioners
herein, Messrs. Arneault and Emerson. (See Exhibit 14). Mr. Emerson is the
largest Debenture Holder and the largest Petitioner in this matter.

79. On June 10, 2024, just two days before this Petition was filed, Mr. Arneault,
called me. We had a very nice talk. I gave him a status report I had gotten from
Colliers and informed him that Colliers had one casino that was very enthusiastic. I
told him that I had been talking to a gentleman that had sold three casinos that was
going to go see the Property in July with his casino operator. I told him it took a

long time for Colliers to do the sales brochure. He told me he really liked the

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Colliers brochure. I told him that Colliers would be doing another mail out. I told
him that I had made it crystal clear to Colliers that I was dispensable and that no
one coming in needed to keep me around. (See Exhibit 15).

80. This was important because any interested casino entity would likely want to
bring in its own management team to design, construct and operate the casino
resort. Having to retain prior management could be a deal breaker for some casino
prospects.

81. Mr. Arneault brought up the recent passing of his best friend and told me he
was putting his condo in Florida up for sale. Because of his recent loss, it was a
sad, but very friendly conversation. There was not a hint that Mr. Arneault would
be filing this Petition two days later. I sent an email to Mr. Harrison informing him
of my conversation with Mr. Arneault. (See Exhibit 15).

82. On June 14, 2024, I was driving to New Jersey when Colliers International
called me to inform me that this Involuntary Chapter 7 Petition had been filed.

83. I questioned the caller because I was sure he was mistaken. He was not
mistaken.

84. I was upset and embarrassed. I had informed Colliers about our deal with the
Petitioners. I could not believe the Petitioners had done this. We had a deal and we

did what we agreed to do. They were supposed to be working with us, not against

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us. Neither I nor Colliers could understand why they would do this. It made no
financial sense to either of us.

85. The Company managed to get one of the strongest brokers in the world to
handle the sale of the Property and now the Petitioners, who demanded that I put
the Property up for sale by a "drop dead" date, were interfering with the very sale
they had demanded.

86. As Colliers put it, they are "sabotaging" the deal and making it difficult to
maximize the value of the property.

87. Mr. Arneault has a gaming background and knows that Mississippi Gaming
Site Approval is a privilege. He knows that the Property would plummet in value if
we lost our Gaming Site Approval. He knows how sensitive State Gaming
Commissions can be. This filing is dangerous. It could cause serious problems with
our Mississippi Gaming Site Approval and, if that happens, the value of the
Property would plummet.

Finalization of Eminent Domain

88. The filing of the Petition at this particular time makes no sense for yet
another reason. The Petitioners and counsel for the Petitioners know, that
Mississippi Gaming Corporation ("MGC") has been immersed in eminent domain
litigation relating to the entire northern portion of the Diamondhead Property in the

Special Court of Eminent Domain in Hancock County, Mississippi, where the

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Diamondhead Property is located. Cooperative Energy, a Mississippi Electric
Cooperative v. Mississippi Gaming Corporation (In the Special Court of Eminent
Domain, Hancock County, Mississippi (Case No. CC20-0221) and Cooperative
Energy, a Mississippi Electric Cooperative v. Mississippi Gaming Corporation, et
al (all lien holders of the Diamondhead Property.) (In the Special Court of
Eminent Domain, Hancock County, Mississippi (Case No. CC23-0153).

89. The Plaintiff, Cooperative Energy, served all lien holders, including the
Petitioners herein, as defendants in the above matter. The Company's filings with
the Securities and Exchange Commission clearly show that the Company is in the
process of finalizing the easements awarded in these eminent domain proceedings.
The Company filed very detailed disclosures regarding the proceedings, including
a chronology relating to the negotiations and each of the offers made by
Cooperative Energy and rejected by MGC before the parties finally reached a $1
million settlement. (See Exhibit 16). The filing of this Petition on the eve of
finalizing these important documents makes absolutely no sense.

90. As the Company's SEC filings disclose, the parties in the eminent domain
proceeding are negotiating the very wording of the two permanent easements. This
is taking time because of the importance of the wording. Every word is critical and

MGC has been fighting over the wording to prevent Cooperative Energy from

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taking advantage of the situation. The easements are permanent. The value of the
Property can fall dramatically if these easements are not very carefully worded.

91. Once the easements are finalized and signed by Mississippi Gaming
Corporation ("MGC"), MGC will get the remaining proceeds due under the Court
Order approving the settlement agreement. (See Exhibit 16).

92. The filing of this Petition stays any further eminent domain proceedings.
This Petition not only interferes with, but prevents, the finalization of the matter.
Until the easements are finalized and signed by the President of Mississippi
Gaming Corporation, there will be a cloud over the scope of the easements and the
Diamondhead Property.

93. Based on a conversation Mr. Harrison, the Chairman of the Board of
Directors, had with the Petitioner, Mr. Arneault, it appears that the Petitioners are
angry because they did not receive any portion of the eminent domain proceeds.

94. However, Cooperative Energy, the Plaintiff in the eminent domain action,
served all of the Petitioners in the action and with notice of a hearing to be held on
September 11, 2023 in Mississippi. In Mississippi, lien holders can request a
portion of the eminent domain proceeds. No Petitioner filed any response in the
action. No Petitioner showed up for the scheduled hearing and no Petitioner

requested a portion of the eminent domain proceeds.

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95. Only two defendants appeared at the scheduled hearing. Mississippi Gaming
Corporation, the Property owner, appeared by and with Mississippi counsel. I filed
a responsive pleading in my individual capacity and appeared at the hearing in my
individual capacity as a lien holder.

96. Ata subsequent telephonic hearing held on the matter, I informed the Court
that, although I was appearing in my individual capacity and was the largest lien
holder, as President of Mississippi Gaming Corporation, I preferred that the
proceeds of the eminent domain settlement be paid to Mississippi Gaming
Corporation, the owner of the Property, which needed the money. I informed the
Court that Mississippi Gaming Corporation had settled the matter because it
needed this money, had borrowed funds against the anticipated settlement, and
really needed to get this money into the Company.

97. The Judge ordered the Clerk of the Court to pay the amount which
Cooperative Energy had already placed in escrow with the Clerk of the Court, to
Mississippi Gaming Corporation (approximately $850,000) and ordered that the
remainder of the settlement amount of $1 million (approximately $150,000) be
paid to Mississippi Gaming Corporation once the easements had been signed.

98. In doing so, management acted in the best interest of the Company, rather
than its own best interest. I was also able to get Cooperative Energy to pay a hefty

court fee related to the escrow.

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The Eight Petitioners

99. The Petitioners are eight of thirteen Debenture Holders who purchased
Debentures from the Company pursuant to a Private Placement. The deal was
structured by Mr. Wurst's then law firm, two of the Petitioners, Messrs. Arneault
and Emerson, and the Company. The funds raised were used to move the
Diamondhead Project forward and for other corporate purposes. Henley &
Company, LLC ("Henley"), a New York securities firm, served as the Placement
Agent for the Offering. °

100. The eight Petitioners herein have been represented by Mr. Wurst since at
least 2016. Attached hereto is a disclosure from the Company's Form 10-Q which
summarizes the litigation between these eight Petitioners and the Company which
was initiated by Petitioners in October 2016. (Exhibit 17). In December of 2022,
the Company entered into an Amended Settlement Agreement with the Petitioners
and agreed to pay these eight Petitioners additional interest on their Debentures
and attorneys fees of $175,000. The Company previously agreed to a Consent
Judgment which was entered in the case on September 20, 2023.

101. On November 21, 2023, two months after the Consent Judgment was entered,

> Henley was represented by Ruskin Moscou Faltischek, P.C. Mr. Wurst was a
partner with that law firm. Mr. Wurst is now a partner with the law firm of
Armstrong Teasdale, which filed the Petition herein.

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we agreed to put the Property up for sale if we did not pay the Petitioners by
January 31, 2024.

The Petitioner, Edson (''Ted"') Arneault

102. The Petitioner, Edson ("Ted") Arneault, served as Chairman of the Board of
Directors of Diamondhead Casino Corporation and as President of Casino World,
Inc., a wholly-owned subsidiary of the Company. His job was to spearhead the
development of the Diamondhead Casino Project.

103. Mr. Arneault and I were responsible for the disbursement of significant
funds received as a result of the sale of the Debentures which Petitioners herein
and other Debenture holders purchased. Thus, he is familiar with the way I handle
corporate funds and financial records and with our bookkeeping system and data
entry. Not once did Mr. Arneault, a CPA, ever express any concern with respect to

our use of funds, our recordation of funds, or our bookkeeping procedures.

104. Mr. Arneault's two Debentures, which total $100,000 in principal, are
secured by a first lien on the Property with interest at 4%. The Company agreed to
pay additional interest on the Petitioners' Debentures and eventually signed a
Consent Judgment that included that interest. However, the additional interest in
excess of 4% per annum is unsecured. The Company also agreed to pay attorneys
fees to Petitioners. Those fees are also unsecured. Mr. Arneault is owed his

proportional amount of attorneys fees under the Consent Judgment.

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105. Mr. Arneault is owed Director fees in the amount of $11,250 which are
secured by a fifth lien on the Property ("the Directors' Lien").

106. Mr. Arneault is owed approximately $75,000 for unpaid salary, which is also
an unsecured debt of the Company.

107. In order for Mr. Arneault to collect all amounts the Company owes him, all
liens on the Property must be paid off to reach his unsecured debt, which is
substantial.

108. The other Petitioners are owed secured and unsecured amounts, too.
Therefore, for the other Petitioners to get paid in full, all liens on the Property must
be paid off so that we can reach the unsecured debt owed them.

109. The thirteen Debenture holders who purchased Debentures in the Private
Placement did so through Henley & Company, which was then represented by Mr.
Wurst's law firm. The eight Petitioners herein are now represented by Mr. Wurst's
new law firm. However, the remaining five Debenture holders also have first liens

on the Property.

110. The purchasers of the thirteen Debentures are all sophisticated and accredited
investors. They obviously know that the Diamondhead Property must be sold in a

non-distress manner if they are to get paid.

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The Prior Chapter 7 Involuntary Petition

111. In 2015, after losing a proxy contest, a group of creditor/shareholders filed a
Petition for an Involuntary Chapter 7 against the Company in the United States
Bankruptcy Court for the District of Delaware (in re Diamondhead Casino

Corporation, Case No. 15-11647-LSS).

112. The Petitioners filed an emergency motion for the appointment of an interim
Chapter 7 Trustee, claiming, among other things, that management were enriching
themselves and running the Company primarily for their own benefit and contrary
to the interests of its creditors and shareholders. The Court held an evidentiary
hearing on the emergency motion and denied the motion finding that a trustee was
not necessary in the gap period to preserve the property of the estate or to prevent

loss.

113. The Company filed a motion to dismiss the case and the Court held an
evidentiary hearing on the Company's motion to dismiss. The Court found that the
Petitioners had satisfied the statutory criteria for filing the Petition. However,
based on the totality of circumstances, the Court concluded that the Petitioners'
primary concern in filing the Petition was to effect a change in management to

benefit their investments as stockholders and that a secondary purpose was to

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collect on their promissory notes. The Court dismissed the case and awarded

attorneys fees and expenses. (See exhibit 18)

The Company is Not Insolvent

114. The Company is not insolvent. It owns, through Mississippi Gaming
Corporation, four commercial properties appraised on January 5, 2024 "as is", at
$55.2 million. (See Exhibit 1)

115. There is more than enough equity in the Property to pay all of the Company's
secured and all of the Company's unsecured creditors all principal and all interest
due, in full, with significant funds left over, assuming it's assets are sold or
monetized in the ordinary course of business and not in a fire sale.

116. The Company and its finances have been under a legal microscope for many
years, including in the above-referenced Chapter 7 Involuntary Bankruptcy case.
Its books and records, including its financial records, are open for review to
approximately 2,000 shareholders and to every outside party and their attorneys,
accountants and advisors seeking to invest in the Company. In addition, the
Company files audited financial statements and quarterly reviewed financial
statements with the Securities and Exchange Commission.

117. The Company owns land through a subsidiary. It has no hidden assets for a
Trustee to find and locate. All of its assets are fully disclosed in its SEC filings.

There is nothing to hide and nothing to abscond with. On the contrary, the SEC

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filings show that the President and Chairman of the Board have been carrying the
Company with their own personal funds for years!

118. The Petition filed herein is a threat to the Company's very existence and to
the value of the assets of the Company. There is nothing this filing can do that
Colliers is not already doing. This Petition will succeed only in hurting the
Company, its creditors and its shareholders.

119. Colliers is in discussions with both casino and non-casino prospects. These
are financially viable prospects that have been vetted by Colliers.

120. Colliers has informed me that this Petition is hurting their ability to
maximize the value of the land.

121. Ifthe Company and its broker are not allowed to sell its Mississippi Property
in the ordinary course of business, it is extremely unlikely that the secured
creditors, including the Petitioners herein, will be paid in full. The Debenture
holders, the President of the Company and the Chairman of the Board of the
Company will be the primary beneficiaries of any fire sale. The President would be
the largest beneficiary of a fire sale. All other secured and unsecured creditors will
likely get nothing. A Company which is 33 years old, will no longer exist and its

2000 shareholders will get wiped out.

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ic LL

Deborah A. Vitale

STATE OF VIRGINIA

—“

SS.
CITY OF ALEXANDRIA )

SWORN TO AND SUBSCRIBED BEFORE ME, a Notary Public of the State and

County aforesaid, on this | a day of July, 2024.

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